Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 1 of 15

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re lace nor sup%lemenl the lilin and service of pleadings or other papers as required by |a\\'. except as

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Upper Darby, PA 19082

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2 Penn Center, 1500 JFK Blvd. Suite 1240, F’hil.'ade,\lphiail PA 19102
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Oaks, PA 19456

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TeDrE|:l);ieEHgaNi`%§ks Lung Center
450 Crsson Bivd, Suite 200

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M.-\G. JUDGE

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 2 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMEN'I` TRACK DESIGNATION FORM

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In accordance with the Civil .Iustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Tracl< Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § l :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Forrn specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus _ Cases brought under 28 U,S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Sei'vices denying plaintiff Soeial Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly refeired to as complex and that need special or intense management by
the couit. (See reverse side of this form for a detailed explanation of special
management eases-)

(f) Standard Management - Cases that do not fall into any one of the other tracks (14/

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Date Attorney- -at- law Attorney for
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Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 3 of 15

UNITED STA'I`ES DIS'I`R]CT COURT
FOR THE EASTER.N DISTRICT Ol~` PENNSYLV.-\NIA

DESlGNATlON FORM
(io be used by counsel or pro se piaittthj`to indicate tire categotj' offite casefat' the purpose afasst'gtttrtem to the appropriate calendar)

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RELA TED C`ASE, IFANY:

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Civi] cases are deemed related when Yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year Yes |::| No|]/
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2. Does this case involve the same issue of fact or grow out ofthe same transaction as a prior suit Yes |:| No|]/
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3. Does this case involve the validity or infringement of`a patent already in suit or any earlier Yes |:| No Q/
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4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes E No |3/

case filed by the same individual?

l certify that, to my knowledge, the within case l:l is / I:l is riot related to any case now pending or within one year previously terminated action in

this court except as noted above. `
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ARBITRATION CERT|F|CATION
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l, fW,L/l/\& V\/\ l: l§J\/l (`fil , counsel ofrecord or pro se pluintil'f, do hereby ccrtit=y:

lj’ursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action ease
exceed the sum of$150,000.00 exclusive ofinterest and costs:

|:| Reliei` other than monetary damages is sought

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Attor'rtey-at-chw / Pro Se Piar`rtti§` Airamey 1'. D. # (tfappi`icable)

NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

 

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Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 4 of 15

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

SERENE DUDHI
246 Avon Road
Upper Darby, PA 19082
JURY DEMANDED
Plaintift`,

V.

TEMPLE HEALTH OAKS LUNG
CENTER

450 Cresson Blvd, Suite 200

Oaks, PA 19456

And

TEMPLE UNIVERSITY HEALTH
sYsTEM, iNC.

3509 N. stead Street, 9“‘ Ftoor
Philadelphia, PA 19140

Defendants

 

CIVIL ACTION COMPLAINT

I. Parties and Reasons for Jurisdiction.

l. Plainti'ff, SERENE DUDHI (liereinafter “Plaintift"’) is an adult individual residing
at the above address

2. Defendant, TEMPLE HEALTH OAKS LUNG CENTER (“Temple Oaks”) is a
corporation organized and existing under the laws of the Commonwealth of Pennsylvania. At all
times material hereto, Temple Oaks was Ms. Dudhi"s employer.

3. Defendant, TEMPLE UNIVERSITY HEALTI-I SYSTEM, INC. (“Temple
Health") is a corporation organized and existing under the laws of the Commonwealth of

Pcnnsylvania, with a corporate headquarters at the above captioned Pennsylvania address

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 5 of 15

Temple l-Ica]th Oaks Lung Center and Temple University Health System, Inc. are hereinafter
collectively referred to as “Dcfendants”.

4. At all times material hereto, Defendants Were acting together in the capacity of
Plaintifi"s employer pursuant to Title Vll of the Civil Rights Act, the Pregnancy Discritnination
Act and the Pennsylvania Human Relations Act (“PHRA”).

5. Plaintiff has exhausted her administrative remedies pursuant to the Equal
Employment Opportunity Act and the Pennsylvania Human Relations Act. (Sec Exhibit A, a
true and correct copy of a dismissal and notice of rights letter issued by the Equal Employment
Opportunity Commission.)

6. This action is instituted pursuant to the Pregnancy Discrirnination Act and the
Pennsylvania Human Relations Act and applicable federal Iaw.

?. Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

8. Supplemental jurisdiction over the Plaintiff"s state law claims is conferred
pursuant to 28 U.S.C. § 1367.

9. Pursuant to 28 U.S.C. § l391(b)(l) and (b)(2), venue is properly laid in this
district because Defcndants conduct business in this district, and because a substantial part of the
acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district.
Plaintiff was working for Defendants in the Eastern District of Pennsylvania at the time of the
illegal actions by Defendants as set forth herein.

II. Operative Facts.

10. In April of 20]4, Defendants hired l\/ls. Dudhi, as a medical assistant for their

Oaks, PA location where she had been working as a temporary employee for approximately a

year and a half.

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 6 of 15

li. At the time of her hire, Plaintiff Was the only African-American employee in the
Temple Oaks office.
12. In mid-2016, Defendants underwent a shift in management, and Plaintiff came

under the management of Karen Kirch, a Caucasian woman.

13. In Febn.lary of 201 7, Plaintiff took an approved FMLA leave for the birth of her
child.

14. Plaintiff returned to work in l\/lay of 2017.

15. Upon her return to work, Plaintiff explained to Ms. Kirch and Defendants’ office
manager Beth that as she was breastfeeding her newborn, she would need to take a break during
the day to express milk for her newborn.

16. Defendants did not provide Plaintiff with a private area in which to pump, nor did
they honor her need to take a break to do so.

17. Plaintit`f was forced to pump wherever she could, usually using an empty office or
occasionally, her car.

18. Additionally, she would cut short her lunch break in order to take a twenty (2())
minute break required to pump.

19. Plaintiff experienced interruptions in pumping by both male and female
employees due to a lack of privacy and despite letting Beth know that she was taking a break to
pump.

20. On June 29, 2017, Plaintiff Was working her shift with two (2) other medical
assistants

21. She advised one of the other medical assistants that she Was going on break to

pump and would be returning shortly.

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 7 of 15

22. As there was nowhere else to go, Plaintiff Went to the parking lot and sat in her
car to pump.

23. Upon her return, Plaintiff was told that the doctors were looking for her and one
of the other medical assistants, a Caucasian temp worker.

24. Ms. Kirch then tired Plaintiff due to not being able to locate her within the
building

25. Upon information and belief, the Caucasian temp who was also unable to be
found was not reprimanded nor written up and was in fact given Plaintiff's position after her
termination.

26. At all times material, Defendants_, by and through their employees, were hostile to
Plaintift" s pregnant/nursing condition, and terminated her because of that animus.

27. At all times material. Defendants, by and through their employees, were hostile to
Plaintiff's need to take FMLA leave, and terminated her because of that animus

28. At all times material, Defendants, by and through their employees, were hostile to
Plaintiff's status as an African-American Woman, and terminated her because of that anirnus.

29. As a direct and proximate result of Defendant’s conduct in terminating Plaintift"s
employment_, she sustained great economic loss, future lost earning capacity, lost opportunity,
loss of future wages, as well emotional distress, humiliation, pain and suffering and other
damages as set forth below.

III. Causes of Action.

CoUNT I_ EMPLOYMENT DIsCRrMINATIoN
(42 U.s.C.A. § 2000e-2(a))

30. Plaintift`incorpor'ates paragraphs 1~29 as if fully set forth at length herein.

31. Defendant took adverse action against Plaintiff by terminating her employment

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 8 of 15

32. Plairitiffs status as a pregnant woman places her in a protected class.
33. Plaintiff’s status as an African-American woman places her in a protected class
34. Plaintiff’s status as a nursing mother places her in a protected class.

35. Defendants did not allow Plaintiff to take breaks to pump.

36. Defendants treated Plaintiff less favorably than similarly situated white
employees

37. Defendants treated Plaintit`f less favorably than similarly situated non-nursing
employees

38. Plaintiff’ s membership in a protected class was a motivating factor in Defendants’

decision to terminate Plaintiffs employment

39. As such, Defendants’ conduct constitutes unlawful employment practices, under
42. U.S.C. § 2000e-2(a).

40. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages_. loss of front pay, loss of back pay, as Well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
has also sustained work loss, loss of oppor'tunity, and a permanent diminution of earning power
and capacity and a claim is made therefore

41. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages

42. Pursuant to the Civil Rights Act of 1964, 42 U.S.C. §2000e-2(a), et seq Plaintit`f

demands attorneys fees and court costs.

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 9 of 15

COUNT II_PREGNANCY DrsCRerNATroN ACT
(42 U.s.C.A. § 2000(€)(1<) et seq)

43. Plaintiff incorporates paragraphs 1-42 as if fully set forth at length herein.

44. At all times material hereto, and pursuant to the Pregnancy Discrimination Act an
employer may not discriminate against an employee on the basis of pregnancy, childbirth or
other medical conditions

45. At all times material hereto, Plaintiff was pregnant and subject to the
aforementioned termination of her employment, as described above.

46. Defendants’ conduct in terminating Plaintiff was a result of her pregnancy and, as
such, constitutes a violation of the Pregnancy Discrimination Act, 42 U.S.C. §2000(€)(k), et seq.
47. As a proximate result of Defendants’ conduct_. Plaintiff sustained damages,
including but not limited to: great economic loss, future lost earning capacity, lost opportunity,

loss of future wages, loss of front pay, loss of back pay, as Well as emotional distress, mental
anguish, humiliation, pain and suffering, consequential damages and Plaintiff has also sustained
work loss, loss of opportunity, and a permanent diminution of her earning power and capacity
and a claim is made therefore.

48. As a result of the conduct of Defendants’ omiers/’management, Plaintiff hereby
demands punitive damages

49. Pursuant to the Pregnancy Discrimination Act, Plaintiff demands attorneys fees
and court costs.

COUNT III - VIOLATION OF THE PENNSYLVANIA HUMAN RELATIONS ACT
(43 P.S. § 955)

5(). Plaintiff incorporates paragraphs 1-49 as if fully set forth at length herein.

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 10 of 15

,_

3 l. At all times material hereto, and pursuant to the Pennsylvania Human Relations
Act, 43 P.S. § 951, et seq, an employer may not discriminate against an employee based on
pregnancy, childbirth or related medical conditions

52. Plaintiff is a qualified employee and person within the definition of Pennsylvania
Human Relations Act, 43 P.S. § 951, et seq,.

53. Defendants are Plaintiff's “einployers” and thereby subject to the strictures of the
Pennsylvania Human Relations Act, 43 P.S. § 951, et seq,.

54. Defendants’ conduct in terminating Plaintiff is an adverse action, was taken as a
result of her pregnancy and constitutes a violation of the Pennsylvania Human Relations Act, 43
P.S. § 951, et seq,.

55. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages, including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, loss of tips as well as
emotional distress, mental anguish, humiliation, pain and suffering_. consequential damages and
Plaintiff has also sustained work loss, loss of opportunity, and a permanent diminution of her
earning power and capacity and a claim is made therefore.

56. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages

57. Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq Plaintiff
demands attorneys fees and court costs

CoUNT iv _ vioLATioN oF FMLA_RETALIATION
(29 U.s.C. §2601 et seq.)

58. Plaintiff incorporates paragraphs 1-57 as if fully set forth at length herein.

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 11 of 15

59. As set forth above, Plaintiff was entitled to medical leave pursuant to the FMLA_.
29 U.S.C. §260], et seq.

60. Following her return to work upon completion of her Fl\/ILA leave, Defendants
terminated Plaintiffs employmeiit, an adverse action.

61. Defendants’ motivation in terminating Plaintiffs employment was based, in pait,
upon her application for Fi\/[LA leave.

62. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages including but not limited to: great economic loss, future lost earning capacity, lost
opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
has also sustained work loss, loss of opportunity, and a permanent diminution of his earning
power and capacity and a claim is made therefore.

63. As a result of the conduct of Defendaiits’ owners/management, Plaintiff hereby
demands punitive and/or liquidated damages

64. Pui'suant to the Family and l\/Iedical Leave Act of 1993, 29 U.S.C. §2601, et seq
Plaintiff demands attorneys fees and court costs.

IV. Relief Requested.

WHEREFORE, Plaintiff Sereiie Dudhi demands judgment iri her favor and against
Defendaiits, Temple Health Oaks Lung Centei' and Teinple University Health System, Inc. in an
amount in excess of $ l 50,()00.00 together with:

A. Compensatory damages, including birt not limited to: back pay, front pay, past lost

wages, future lost wages, lost pay increases lost pay incentives lost opportunity, lost

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 12 of 15

benefits, lost future earning capacity, injury to reputation, mental and emotional
distress, pain and suffering
Punitive dainages;

Attorneys fees and costs of suit;

now

Interest, delay dainages; and,

ETJ

Any other further relief this Court deems just proper and equitable.

LAW OFFICES OF ERIC A. SI~IORE, P.C.

BY; §/”\» \TO

GRAHAM F. BAIRD, ESQUIRE
Two Penn Center

1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19102

Date: le Z{lg Attorney for Plaintiff, Serene Dudhi

Send §SeeZSluS-i}t-O 4e|Ri:l)<Or Do umentl Filed 08/20/18 Page 13 CE§KHU|:ERE
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LAW DFFICES OF ERIC A. SHORE

 

 

 

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DATE: August 17, 2018

i=Ax No; (717) 772-6553

TO: Bnreau of Prograin Intergi'ity

 

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Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 14 of 15

EXH. A

Case 2:18-cV-03514-RK Document 1 Filed 08/20/18 Page 15 of 15
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TO= Serene Dudhi Frf>mf Philaclelphia District Office
246 Avon Rd 801 lviarket Street
Upper Darby, PA 19082 Suite 1300

Philadelphia, PA 'l 91 07

 

|:l On behalf of person(s) aggrieved whose identify is
CONFIDENTIAL {29 CFR §1501.7(3))
EEOC Charge No. EEOC Represenlative Telephnne No.
l_ega| Unit,
530-2018-00069 Legal Techniciarl (215) 440 -2828

 

THE EEOC |S CLOSING ITS F|LE ON THIS CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans Wilh Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely filed with EEOC; in other words, you waited too long after the date{s) of the alleged
discrimination to tile your charge

EUUUU

The EEOC issues the following deterrnination: Based upon its investigationl the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes No Hnding is made as to any other issues that might be construed as having been raised by this charge

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

EE

Other (briefiy state)

- NOT|CE OF SU|T RIGHTS -

(See the additional information attached 10 this form.)

Title Vl|, the Americans with Disabilities Act, the Genetic information Nondiscrimination Act, or the Age
Discrimination in Em ployment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WlTH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (`l' he time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years (3 yearsl

before you file suit may riot be collectible.
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' §ief/ /Y

 

En~='°$urr-st> Jarhie R. wiriiamson. date Mared)

District Director
CC§

TEMPLE UN|VERS|TY
Graharn Baird, Esq. (for Charging Parl:y)

Fay Trachtenberg, Senior Associate Counse|
(for Respondent)

